






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN








NO. 03-04-00337-CV






Appellants, City of Waco, Texas; Pat and Tracey Wilson; Kobie Wood; and the John S.
Welsh Estate//Cross-Appellant, Ervin Colbentz d/b/a Americalf


v.


Appellees, Texas Commission on Environmental Quality and Ervin Colbentz d/b/a
Americalf//Cross-Appellees, City of Waco, Texas; Pat and Tracey Wilson;

Kobie Wood; and the John S. Welsh Estate







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 201ST JUDICIAL DISTRICT

NO. GN103893, HONORABLE PATRICK O. KEEL, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N




	Appellants' unopposed motions to dismiss this appeal are granted.  See Tex. R. App.
P. 42(a)(1).  The appeal is dismissed and costs are assessed against the party incurring them.



					                                                                                    

					Bea Ann Smith, Justice

Before Chief Justice Law, Justices B. A. Smith and Pemberton

Dismissed on Appellants' Motions

Filed:   October 21, 2004


